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8
                            UNITED STATES DISTRICT COURT
9
                           CENTRAL DISTRICT OF CALIFORNIA
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11
     UNITED STATES OF AMERICA,                   Case No. 8:19-CR-00061-JVS
12
                        Plaintiff,
13                                               CLAIMANT JASON FRANK LAW,
            vs.
14                                               PLC’S SUPPLEMENTAL BRIEF RE
     MICHAEL JOHN AVENATTI,                      PRIMACY POSITION IN DISPUTED
15                                               PROPERTY
                        Defendant.
16
17
18         Claimant Jason Frank Law, PLC (“JFL”) hereby submits its Supplemental Brief
19   regarding whether JFL’s secured judgment lien would have priority over the potential
20   constructive trusts the Court may impose in favor of the Spring Creek LLC (“Spring
21   Creek”), Alexis Gardner (“Gardner”) and the Estate of Eagan Avenatti (the “Estate”).
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1    I.       Judgment Liens Have Priority Over Constructive Trusts Even When the
              Wrongful Conduct Occurred Prior to the Judgment.
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              “The essence of the theory of constructive trust is to prevent unjust enrichment and
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     to prevent a person from taking advantage of his or her own wrongdoing.” American
4
     Master Lease LLC v. Idanta Partners, Ltd., 225 Cal.App.4th 1451, 1485 (2014). Because
5
     it focuses on preventing unjust enrichment of wrongdoers, courts in the Ninth Circuit will
6
     not impose the equitable remedy of a constructive trust to disadvantage the claims of
7
     innocent creditors and victims of the wrongdoer. U.S. v. Wilson, 659 F.3d 947, 956 (9th
8    Cir. 2011); In re Lewis W. Shurtleff, Inc., 778 F.2d 1416, 1419-20 (9th Cir. 1985).
9             For this reason, “[u]nder California law, the rights of a judgment lien creditor are
10   superior to those of a party that later obtains an order retroactively imposing a
11   constructive trust.” In re Charlton, 389 B.R. 97, 104 (N.D. Cal. 2008) (citing CHoPP
12   Computer Corp. v. U.S., 5 F.3d 1344, 1348-49 (9th Cir. 1993). The Ninth Circuit held
13   this rule applies even when the wrongful taking that underlies the basis for a constructive
14   trust occurred prior to the judgment. CHoPP, 5 F.3d at 1348-49.
15            For example, in CHoPP, the United States obtained a tax delinquency judgment
16   against a company. 5 F.3d at 1345-46. The Government then levied on a bank account
17   controlled by the company’s owner who was allegedly the alter ego of the company. Id.
18   At the time of the levy, the government was aware that a third-party (CHoPP Computer)
19   was seeking a constructive trust on the money in the account and had obtained a
20   preliminary injunction freezing the account. Id. After obtaining the constructive trust,
21   the third-party argued the Government had wrongfully taken the money from the account
22   and was required to return it. Id.
23            The Ninth Circuit recognized that while “a constructive trust springs into existence
24   at the moment a wrongful taking occurs,” that a judgment lien in place before a court
25   recognizes the trust has priority. CHoPP, 5 F.3d at 1348. There is a “clear indication that
26   California discourages the use of equitable remedies” like constructive trusts “to ward off
27   competing prior lienholders.” Id. at 1348-49. It rejected the argument that a constructive
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1    trust recognized by a court after the lien was secured can claim priority, regardless of
2    when the wrongdoing creating the trust took place. Id.
3            Courts have consistently respected the rights of judgment creditors over parties
4    who later gain court recognition of a constructive trust. S.E.C. v. PEM Group, Inc., 2012
5    WL 12882382, at *7-8 (C.D. Cal. Sept. 28, 2012); Charlton, 389 B.R. at 104 (holding
6    that “the rights of a judgment lien creditor are superior to those of a party that later obtains
7    an order retroactively imposing a constructive trust”). In PEM, Judge Gutierrez
8    recognized a constructive trust for the benefit of investors who were defrauded in a Ponzi
9    scheme operated by Danny Pang. 2012 WL 12882382 at *7. But the court “carved out”
10   a prior judgment obtained by a non-investor (UICN), even though the judgment was
11   obtained after the investors had been defrauded. Id. “[T]he constructive trust remedy
12   generally should not be used to interfere with the collection of prior claims, at least where
13   those claims have already been reduced to judgment.” Id. (citing CHoPP, 5 F.3d at 1348).
14           JFL obtained a secured judgment lien against Avenatti by recording a Notice of
15   Judgment Lien with the California Secretary of State on December 6, 2018 in the amount
16   of $5,076,443.53. Dkt. 1104-1, ¶ 12; Dkt. 1104-7. This is a legal right that has priority
17   over the retroactive recognition of equitable interests, and must be “carved out” from any
18   equitable trusts imposed by the Court. CHoPP, 5 F.3d at 1348. 1
19   II.     THE PLANE IS THE PERSONAL BUSINESS PROPERTY OF AVENATTI
20
             A.     A Judgment Creditor May Enforce a Judgment Lien Against Property
21                  Nominally Held by or Owed to a Corporate Entity by Showing that the
                    entity is the Alter Ego of the Judgment Debtor.
22
23   1
      Even assuming arguendo the Court could find a constructive trust has priority over a
24
     prior judgment lien (which it cannot under the law), JFL still would be entitled to at least
     the first $150,000 generated from the sale of the Jet based on the fact that AA paid at least
25   this much money towards the purchase of the Jet (as a downpayment on the two planes
26   in October 2006) prior to the theft of Gardner’s money. See Tentative, pp. 1, 10-11
     (awarding Spring Creek the first $488,800 generated from the sale of the Jet based on the
27   theory that this money was paid by Spring Creek and “vested” prior to the theft of
28   Gardner’s settlement); Frank 2, ¶ 13. This relief is requested only in the alternative.
                                                   6
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1             Under California law, “[a] judgment lien attaches to business personal property
2    interests owned by the judgment debtor when the judgment lien is filed, as well as to any
3    lienable property later acquired by the judgment debtor.” In re Imagine Fulfillment
4    Services, LLC, 489 B.R. 136, 144 (C.D. Cal. 2013) (emphasis added) (citing Cal. Civ.
5    Proc. Code § 697.510(a).) “[A] judgment lien takes effect on the date a judgment creditor
6    files its Notice of Judgment Lien with the Secretary of State. Id.
7             At the hearing, Gardner’s counsel noted that JFL’s judgment lien is against
8    Avenatti personally and not against his companies Avenatti & Associates, APC (“AA”)
9    or Passport 420, LLC (“Passport 420”). A party may enforce a judgment lien against
10   property nominally held by or owed to a corporate entity by showing that the entity is the
11   alter ego of the judgment debtor. Fleet Credit Corp. v. TML Bus Sales, Inc., 65 F.3d 119,
12   121-22 (9th Cir. 1995) (citing Cal. Civ. Proc. Code §§ 708.210, 708.410); Wham-O, Inc.
13   v. Manley Toys, Ltd., 2008 WL 11339120, at *1 (C.D. Cal. Oct. 3, 2008).
14            In Wham-O, a third-party interpleaded funds with a district court that were owed
15   to the defendant Manley Toys, Ltd. (Manley). Wham-O, 2008 WL 11339120, at *1 The
16   plaintiff (Wham-O) had previously obtained a judgment against another company (SLB),
17   and alleged that Manley was the alter ego of SLB. Id. Wham-O filed a claim for the
18   interpleaded funds under Section 708.210,2 which permits a judgment creditor to file
19   claims against third parties who have possession or control of property belonging to a
20   judgment debtor. Id. The plaintiff also alternatively filed a claim to enforce its judgment
21   under the common law. Id. The defendant (Manley) filed a motion to dismiss and release
22   the funds. Id.
23            The district court (Judge Lew) denied the motion. Wham-O, 2008 WL 11339120,
24   at *1. “The issue of alter-ego liability may be resolved in a lawsuit filed pursuant to §
25   708.210 et. seq.” Id. (citing Fleet, 65 F.3d at 122). The court then found that “[a]ssuming
26   Manley is the alter-ego of SLB, then Manley is also Wham-O’s judgment debtor” and
27
     2
28       All section references to statutes are to the California Code of Civil Procedure.
                                                   7
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1    “[t]herefore, assuming these allegations are true, Wham-O is entitled to the disputed
2    funds under § 708.210.” Id. The court further found that the plaintiff’s alter ego
3    allegations also state an alternative claim for relief under the common law, because the
4    plaintiff’s right to enforce its judgment is “not limited by California’s statutory structure
5    regarding the enforcement of judgments.” Id. (citing Cal. Civ. Proc. Code § 683.050
6    (“Nothing in this chapter limits any right the judgment creditor may have to bring an
7    action on a judgment”).) In other words, under California law, a judgment creditor has
8    various means to enforce its judgment against an alter ego of the judgment debtor. Id.;
9    see also MSY Trading Inc. v. Saleen Automotive, Inc., 51 Cal.App.5th 395, 403-404
10   (2020) (noting a party has various procedural vehicles through which to establish alter
11   ego liability). Based on the foregoing, the court denied Manley’s motion to dismiss and
12   refused to release the funds until the alter ego issues were decided. Id. at *1-2. 3
13         After the seizure of the Jet JFL promptly filed a verified claim asserting it had an
14   interest in the property based on its judgment lien and alleging that AA is the alter ego of
15   Avenatti. Dkt. 20, ¶ 10, n. 1. Pursuant to Section 708.210, JFL is entitled to establish
16   that Avenatti (the judgment debtor) has an interest in the Jet through the use of alter ego
17   corporations, because the Jet is property in the possession of a third-party. Fleet, 65 F.3d
18
           3
             If it is shown that the property is held by an alter ego or otherwise really belongs
19   to the judgment debtor, then the priority of the judgment lien is determined by its date,
20   not when alter ego was established. Fleet, 65 F.3d at 122. In Fleet, two creditors were
     fighting over money in a bank account held by a corporation that was really an alter ego
21   of the judgment debtor. Id. at 121. The Ninth Circuit found that the creditors had a right
22   to establish that the funds belonged to the judgment debtor via the alter ego doctrine. Id.
     After determining alter ego liability, the Ninth Circuit held that the creditor’s prior
23
     judgment lien against an individual debtor took priority over an attorney fee award to the
24   second creditor, even though those fees were incurred to establish alter ego and a
     fraudulent conveyance. (“In California, ‘[o]ther things being equal, different liens upon
25
     the same property have priority according to the time of their creation.”) This is because
26   alter ego is a “procedural” device designed to disregard the corporate entity as distinct
     from the individual where the corporate form is being used to escape personal liability.
27
     Greenspan v. LADT, LLC, 191 Cal.App.4th 486, 516 (2010).
28                                               8
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1    at 122; Whamo, 2008 WL 11339120, at *1. Pursuant to Section 708.410, JFL is also
2    entitled to enforce its lien by showing that Avenatti (the judgment debtor) is the actual
3    party with an interest in the Jet, and that his corporations are mere alter egos. Fleet, 65
4    F.3d at 121 (judgment creditor can enforce its lien in any lawsuit that establishes that a
5    judgment debtor has an interest in money or property, even though the judgment debtor
6    is not a party to the lawsuit and used an alter ego corporation to convey the funds).
7    Similarly, JFL has the right to enforce its judgment in this action under the common law
8    by establishing alter ego. Whamo, 2008 WL 11339120, at *1.
9          The Court therefore cannot disperse the funds from the sale of the Jet until
10   determining the alter ego issues, because if AA and/or Passport 420 is the alter ego of
11   Avenatti, then JFL’s judgment lien carries to the Jet, has priority, and must be “carved
12   out” from any constructive trusts. PEM, 2012 WL 12882382 at *7.
13
           B.     Avenatti has a Legal Interest in the Jet and the Proceeds from the Sale
14                of the Jet that is Subject to JFL’s Lien.
15         AA has an ownership interest in the Jet and the proceeds from its sale that is subject
16   to JFL’s lien. The Purchase Agreement for the Jet was between Honda and AA, and then
17   amended to substitute Passport 420 shortly before the delivery of the Jet. See Tentative,
18   pp. 2-3. The members of Passport 420 are AA and Spring Creek, which each owns a 50%
19   interest in the company. Id.
20         Pursuant to Passport 420’s Operating Agreement, “each Member’s ownership
21   interest in the Aircraft will be according to and the same as their ownership interest in the
22   Company.” Dkt. 1103-1, Ex. A, p. 1. In other words, while the Members agreed that the
23   Jet would be held in the name of Passport 420, each member contracted to have a direct
24   legal ownership interest in the Jet (as opposed to indirectly owning it through the
25   corporation). Id. The Operating Agreement further provides that if the Jet is sold, “the
26   proceeds of the sale shall be distributed pro-rata according to each Member’s Ownership
27   Interest.” Id., p. 2, § 2.2. In addition, Section 10 of the Operating Agreement also
28                                               9
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 1   repeatedly states that each Member has a direct “Ownership Interest in the Aircraft” that
 2   it can separately sell under certain conditions. Id., pp. 8-10, § 10. In sum, AA has a direct
 3   legal ownership interest in the Jet and the sale proceeds. Id.
 4         C.     AA is the Alter Ego of Avenatti.
 5         Alter ego applies when there is “such unity of interest and ownership that the
 6   separate personalities of the corporation and individual no longer exist” and “if the acts
 7   are treated as those of the corporation alone, an inequitable result will follow”
 8   Automotriz etc. De California v. Resnick, 47 Cal.2d 792, 796 (1957). Factors include:
 9   (a) commingling of funds; (b) inadequate capitalization; (c) treatment by an individual of
10   the corporation’s assets as his own; (d) failure to follow corporate formalities; and (f) the
11   use of the corporate entity as a mere shell for the affairs of the individual. Zoran Corp.
12   v. Chen, 185 Cal.App.4th 799, 606-07 (2010). “No single factor is determinative, and
13   instead a court must examine all the circumstances to determine whether to apply the
14   doctrine.” Id. at 607.
15         As set forth in the 2nd Supp. Decl. of Jason M. Frank (“Frank 2”), as well as the
16   documents previously provided to this Court, the evidence will establish that AA is alter
17   ego for Avenatti. Avenatti was the sole owner of AA. Dkt. 1104-1, Ex. 9. He regularly
18   commingled funds between his companies, including but not limited to AA, EA and
19   Passport 420. Dkt. 1104-1, Exs. 14-16; Dkt. 1107, Exs. 18, 21, 23. He routinely used
20   AA’s money to pay for his personal expenses. Frank 2, ¶¶ 6-9, Ex. 31. He left AA
21   undercapitalized by depositing and immediately withdrawing large sums of money from
22   the AA account each month so there would not be any money in the account for creditors.
23   Id., ¶¶ 4-5, Exs. 29-31. He deliberately used AA as a vehicle to avoid creditors. Id., ¶
24   11. He did not follow corporate formalities, including failing to register AA with the
25   State Bar as required under California law. Id., Exs. 33, 34. AA is the alter ego of
26   Avenatti, and JFL’s judgment against Avenatti also applies to the property interests of
27   AA, including its ownership interest in the Jet and right to 50% of the Jet. Wham-O,
28                                               10
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 1   2008 WL 11339120, at *1.
 2         D.     Passport 420 is the Alter Ego of Avenatti.
 3         The evidence will likewise establish that Passport 420 is an alter ego of Avenatti.
 4   Under the Operating Agreement, Avenatti was granted “full and complete authority” over
 5   the Company. Dkt. 1103-1, Ex. A, p. 7, ¶ 5.1. He regularly commingled Passport 420’s
 6   funds with his accounts at EA and AA, and treated them as his own personal funds. Dkt.
 7   1104-1, Exs 14-16; Dkt. 1107, Exs. 18, 21, 23. He depleted the funds in Passport 420’s
 8   account each month to ensure it was undercapitalized. Frank 2, Ex. 30. The Operating
 9   Agreement, itself, shows that Passport 420 intended its members to have a direct
10   ownership in the Jet, as opposed to the normal operation of a corporation, whereby the
11   property is owned by the corporation not the shareholders. Dkt. 1103-1, Ex. A, pp. 1.
12   The Court’s Tentative implicitly reaches the same conclusion by treating Avenatti’s theft
13   of Gardner’s money as the acts of Passport 420, even though no stolen money flowed
14   through Passport 420’s accounts, nor was the theft authorized by Spring Creek.
15   V.    CONCLUSION
16         If the Court finds that Avenatti is the alter ego of Passport 420, then JFL’s lien
17   attaches to 100% of the proceeds from the sale of the Jet. If, instead, the Court treats
18   Passport 420 as a distinct corporation, then it must honor the terms of the Passport 420
19   Operating Agreement entitling AA (i.e., Avenatti) to 50% of the proceeds – in which case
20   JFL would be entitled to 50% of the gross proceeds to satisfy its lien. As the Ninth Circuit
21   noted in Fleet, this is not to say that Avenatti could take this money himself; instead, it is
22   only “insofar as his right is subject to the claims of creditors.” Fleet, 65 F.3d at 121. It
23   is this right for which JFL has a judgment lien because AA is the alter ego of Avenatti.
24   Id. And it is this legal interest which has priority over any retroactive constructive trusts
25   recognized by the Court on an equitable basis. CHoPP, 5 F.3d at 1348-49. The Court
26   therefore cannot disperse this money until the alter ego issues are determined.
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 1   Dated: July 3, 2023                  FRANK SIMS & STOLPER LLP
 2                                        By:    /s/ Andrew D. Stolper
 3                                               Andrew D. Stolper
                                                 Attorneys for Claimant
 4                                               Jason Frank Law, PLC
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